                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION

PATRICK MANIACI, Individually and on Behalf )          Case No.: 18-cv-200
of All Others Similarly Situated,           )
                                            )
                                            )          JOINT REPORT OF THE PARTIES’
               Plaintiff,                   )
        vs.                                            RULE 26(f) DISCOVERY PLAN
                                            )
                                            )
THE RECEIVABLE MANAGEMENT                   )
SERVICES CORPORATION, D/B/A RMS             )
                                            )          Hon. William E Duffin
                                            )
               Defendant.                   )

       Plaintiff Patrick Maniaci (“Plaintiff”), by his attorneys, Ademi & O’Reilly LLP, and

Defendant The Receivable Management Services Corporation (“RMS”), by its attorneys,

Hinshaw & Culbertson, LLP, respectfully submit the following report pursuant to Fed. R. Civ. P.

26(f), for purposes of the telephonic Fed. R. Civ. P. 16(b) scheduling conference, currently set

for Wednesday, August 8, 2018 at 9:30AM.

       Pursuant to Fed. R. Civ. P. 26(f), a conference was held on August 3, 2018. Attorney

John D. Blythin participated for the Plaintiff and Attorney Alyssa A. Johnson participated for

Defendant. Counsel have spoken about this action, including the possibility of settlement, prior

to August 3, 2018.

       1.      Nature of the Case. The case at bar is an action under the Fair Debt Collection

Practices Act (“FDCPA”) 15 U.S.C. § 1692 et. seq.

       2.      Jurisdiction. There are no issues as to venue contemplated or pending before the

Court. The parties do not otherwise contest jurisdiction, and believe this issue may be resolved, if

appropriate, at summary judgment.

       3.      Possibility of Prompt Settlement.       The parties have engaged in settlement

discussions and will continue to do so.



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       4.      Motions. Plaintiff filed a motion for class certification (Dkt. No. 3). Plaintiff also

filed a motion to stay the class certification motion until the Rule 16(b) scheduling conference

and for relief from the local rules requiring briefs and supporting materials to be filed with the

motion and the automatic briefing schedule (Dkt. No. 3). The Court granted Plaintiff’s motion to

stay further proceedings and relieve parties from the automatic briefing schedule on the motion

for class certification (Dkt. No. 5). Defendant filed a motion to dismiss for failure to state a claim

(Dkt. No. 10). Plaintiff filed a motion for leave to file an amended complaint (Dkt. No. 15). The

Court granted Plaintiff’s motion for leave to file an amended complaint and finding as moot

Defendant’s motion to dismiss. (Dkt. No. 16). Defendant filed a motion to dismiss Plaintiff’s

amended complaint (Dkt. No. 18). The Court denied Defendant’s motion to dismiss (Dkt. No.

22). Plaintiff intends to file an amended motion for class certification after conducting some

discovery. Both parties anticipate motions for summary judgment or for judgment on the

pleadings.

       5.      Initial Disclosures. The parties shall make their Initial Disclosures pursuant to

Fed. R. Civ. P. 26(a)(1) by August 22, 2018.

       6.      Length of Trial. The Parties anticipate that these claims may be resolved through

dispositive motions. Plaintiff has requested a jury trial, and the parties expect that a trial on this

matter would last two to three days.

       7.      Electronically Stored Information. The Parties are uncertain at this time whether

this case will involve electronically stored information. In the event that this case does involve

any electronically stored information, the Parties agree to discuss and seek agreement on

protocols regarding the identification, review, and production of electronically-stored

information. The Parties further agree to use reasonable measures to obtain discovery, following



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the guidelines of the Federal Rules of Civil Procedure, including Rule 26(b)(2)(B) regarding the

scope of production of electronically stored information, should such information be part of the

discovery of this case.

        8.       Confidentiality. The Parties are unsure at this time whether disputes concerning

confidentiality or claims of privilege will arise. If any such disputes arise, the parties will attempt

to resolve them.

        9.       Orders. The Parties do not contemplate any additional orders that should be

entered by the Court under Federal Rules 16(b)-(c) or 26(c) other than the Scheduling Order.

Motions made in the normal course of litigation pursuant to the Court’s Orders, the Federal

Rules of Civil Procedure, and the Local Rules may be filed as the case dictates.

        10.      Change to Limitations on Discovery Imposed by Federal Rules. The parties agree

that no changes to the limitations on discovery imposed by the Federal Rules are necessary at

this time.

        11.      Class Certification. Plaintiff shall have until January 18, 2019 to file an amended

motion for class certification and all supporting documents. The parties agree that Defendant

should have 30 days from the filing of an amended motion for class certification, to file its brief

in opposition, and that Plaintiff should have 21 days to file his reply brief. The parties further

agree that the currently-filed motion for class certification should continue to be stayed until

Plaintiff files an amended class certification motion, except that discovery relating to class

certification shall proceed under regular discovery rules.

        12.      Expert Witness Disclosures. Plaintiff shall have until May 3, 2019, to name expert

witnesses and produce reports. Defendant shall have until May 24, 2019, to name expert

witnesses and produce reports. No rebuttal expert witnesses shall be allowed without leave of the



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court.

         13.   Discovery Plan. Discovery can be completed by June 28, 2019.

         14.   Dispositive Motions. On or before July 26, 2019 either party may file dispositive

motions.

Dated this 3rd day of August 2018.              ADEMI & O'REILLY, LLP


                                                /s/ John D. Blythin____________
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                                                Attorneys for Plaintiff


Dated this 3rd day of August 2018.              HINSHAW & CULBERTSON LLP

                                                /s/ Alyssa A. Johnson ___________
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